                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

DIAMOND OFFSHORE SERVICES                       §
COMPANY et al                                   §
                                                §
          Plaintiffs                            §
VS.                                             § CIVIL ACTION NO. M-10-168
                                                §
CONADAT ISAIAS GOMEZ BERMAN                     §

      ORDER GRANTING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       After considering Plaintiffs Diamond Offshore Services Company and Diamond Offshore

(USA) L.L.C.’s motion for final summary judgment, and all other evidence on file, the Court

       FINDS that there is no genuine issue of material fact. Therefore, the Court GRANTS the

motion.

       In light of Plaintiffs’ settlement of their claims against other Defendants, the Court

hereby awards Plaintiffs the sum of $186,460.73 in damages and $45,824.50 in pre-

judgment interest, for a total award of $232,285.23 against Defendant Conadat Isaias Gomez

Berman.

       Post-judgment interest shall accrue at a rate of 0.19%.

       SO ORDERED this 31st day of May, 2011, at McAllen, Texas.


                                                ___________________________________
                                                Randy Crane
                                                United States District Judge




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